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 7
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 8
                                 UNITED STATES DISTRICT COURT
 9
                              SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,               Case No.: 22-CR-1241-JAH
11
                 Plaintiff,                    (1)    NOTICE OF APPEAL OF
12                                                    MAGISTRATE JUDGE’S ORDER
          v.                                          SETTING BOND;
13
     MICHAEL SEAN TRIPPE (1),                  (2)    MOTION FOR STAY PENDING
14         aka Thumper,                               APPEAL

15               Defendant.

16
          The UNITED STATES OF AMERICA, by and through its counsel, Randy S.
17
     Grossman,    United   States    Attorney,      and   Connie    Wu,   Assistant        United
18
     States    Attorney,   hereby    files   this    Notice    of   Appeal     of    the    Order
19
     Setting   Bond   in   the    above-captioned     case    entered     by   the   Honorable
20
     Michael S. Berg, Magistrate Judge, on June 16, 2022, and respectfully
21
     moves for an order staying the bond order until this Court has resolved
22
     the appeal.
23
     //
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2                                              I

 3                                         INTRODUCTION

 4        The   United   States    respectfully      appeals   the   Magistrate   Judge’s

 5 order that Defendant be released on a personal appearance bond in the
 6 amount of $400,000, secured by two financially responsible adults with
 7 a trust deed, home detention, and a Full Fourth Amendment waiver, that
 8 extends to the home, vehicle, and cell phone. See Dkt. 28.
 9        The United States submits that it met its burden of proof that

10 Defendant should be detained pending trial both because Defendant poses
11 a serious risk of flight and is a danger to the community and others.
12 As described in further detail below, Defendant orchestrated the
13 victim’s kidnapping with his codefendant, Brett Wenbourne, and tried to
14 kill Person 1 by stabbing him in the chest with a knife, which
15 punctured his lung and would have killed Person 1 without prompt
16 medical attention. This assault with a dangerous weapon was committed
17 in aid of racketeering. Defendant is a validated and documented member
18 of the Aryan Brotherhood (which his counsel admitted at the detention
19 hearing), and he stabbed the victim with a knife in this case because
20 he believed that the victim was making a false claim of Aryan
21 Brotherhood membership. Defendant is a flight risk and danger to the
22 community and others and should therefore be detained.
23                                              II

24                                 STATEMENT OF THE CASE

25        On June 3, 2022, Defendant was indicted on one count of assault

26 with a dangerous weapon in aid of racketeering, in violation of 18
27
     NOTICE OF APPEAL AND MOTION TO STAY        2                          22-CR-1241-JAH
28   DETENTION ORDER PENDING APPEAL
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 1 U.S.C. § 1959(a)(3), as well as aiding and abetting in violation of 18
 2 U.S.C. § 2. Defendant was hospitalized due to his use of a (prescribed)
 3 drug that is prohibited by the federal jails and subsequently arraigned
 4 by video on June 6, 2022.
 5        At Defendant’s initial appearance on June 10, 2022, the United

 6 States moved to detain based on risk of flight and danger to the
 7 community. A detention hearing was held on June 16, 2022.
 8        On June 16, 2022, the Magistrate Judge entered an order that

 9 Defendant be released on a personal appearance bond in the amount of in
10 the amount of $400,000, secured by two financially responsible adults
11 with a trust deed, as well as home detention, and a Full Fourth
12 Amendment waiver, that extends to the home, vehicle, and cell phone.
13 See Dkt. 28.
14        For the first six weeks following the detention hearing, it did

15 not appear as though Defendant would be able to meet the conditions set
16 by Magistrate Judge so release from custody did not appear likely. From
17 July 6, 2022, to August 2, 2022, Defendant submitted various deficient
18 bond packages. Each time, the Chief of the Asset Recovery unit informed
19 defense the multitude of ways in which each bond package was legally
20 deficient.
21        On August 3, 2022, Defendant submitted a bond package and asked

22 for hearing if it would not be approved by the United States. The
23 United States requested a Nebbia hearing and surety examination, which
24 is currently set for August 16, 2022. Throughout this process, the
25 Magistrate Judge and defense counsel have been aware of the United
26 States’ request to exercise its right such hearing in the event the
27
     NOTICE OF APPEAL AND MOTION TO STAY     3                          22-CR-1241-JAH
28   DETENTION ORDER PENDING APPEAL
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 1 Defendant were to present a bond package the Magistrate Judge might
 2 sign.
 3                                                III

 4                                              ARGUMENT

 5        This Court reviews the Magistrate Judge’s bond order de novo.

 6 United States v. Koenig, 912 F.2d 1190, 1191 (9th Cir. 1990).                                 The

 7 Court “should review the evidence before the magistrate and make its
 8 own independent determination whether the magistrate’s findings are
 9 correct, with no deference.”              Id. “[T]he district court is not required

10 to start over in every case, and proceed as if the magistrate’s
11 decision and findings did not exist,” but “[i]t should review the
12 evidence       before        the    magistrate       and      make   its   own      independent

13 determination whether the magistrate’s findings are correct, with no
14 deference. If the performance of that function makes it necessary or
15 desirable       for    the     district    judge      to    hold     additional     evidentiary

16 hearings, it may do so.” Id. at 1193.
17        Based    on     the    arguments   made       during    the   detention     hearing    and

18 below, Defendant is a flight risk and poses a danger to another person
19 and the community.
20 A.     Risk of Flight

21        Under the § 3142(g) factors, Defendant poses a serious flight

22 risk.
23        1.      Nature and Circumstances of the Offense

24        Defendant is charged with one count of Assault with a Dangerous

25   Weapon in Aid of Racketeering (VICAR), in violation of 18 U.S.C. §

26   1959(a)(3)     and    2.    The   charge    arises       from    his attempted     murder    of

27
     NOTICE OF APPEAL AND MOTION TO STAY            4                                22-CR-1241-JAH
28   DETENTION ORDER PENDING APPEAL
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 1   Person 1 on December 7, 2020 when he stabbed the victim in the chest

 2   with a knife because he believed that Person 1 had falsely claimed to

 3   be a member of the Aryan Brotherhood. Once Defendant realized he had

 4   made a mistake, he apologized to the victim but asked him to drive

 5   elsewhere before seeking medical attention because Defendant lived so

 6   close to the crime scene. Defendant explained to the victim that that

 7   he is tired of people claiming to be someone that they are not and

 8   that    he     was     going    to    start     whacking      people   for       misrepresenting

 9   themselves.          The   victim     managed    to    drive    himself     to    a   nearby    gas

10   station, where he began to bleed out and collapsed. Medical workers

11   informed       the    victim    he    would     have   died     without    immediate       medical

12   attention. Defendant’s stabbing caused a two-inch wide chest wound,

13   which punctured Person 1’s lung and caused it to collapse. Defendant

14   is facing up to 20 years imprisonment if convicted. The nature and

15   circumstances of the offense thus create a serious risk of flight.

16          2.     Weight of the Evidence

17          As the Magistrate Judge found, the weight of the evidence favors

18 detention because there is probable cause to believe that he committed
19 the offense. The weight of the evidence in this case is particularly
20 strong because the government’s case does not rest on the victim’s
21 testimony. In fact, a bystander witness with no affiliation to any of
22 the      parties        called    911     and     narrated       the   confrontation        to    law

23 enforcement as it unfolded and explained that his own experiences with
24 gangs growing up led him to believe the confrontation he witnessed was
25 gang-related. He later positively identified the Defendant by photo.
26 Phone         records    and     GPS    data    also     corroborate        Person      1   and   the

27
     NOTICE OF APPEAL AND MOTION TO STAY              5                                 22-CR-1241-JAH
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 1 bystander’s accounts of the stabbing. Indeed, the weight of the
 2 evidence is very strong.
 3        3.    History & Characteristics of Defendant

 4              a.    Physical and mental condition

 5        The Magistrate Judge stated that “he can get adequate medical

 6 treatment in custody,” so he deemed this factor to be neutral. Although
 7 Defendant has more medical needs than the average detainee, there is no
 8 evidence that the Bureau of Prisons has been unable to adequately
 9 address them thus far.
10              b.    Family Ties

11        Defendant has strong family ties in the district, and his father-

12 in-law and wife attended the detention hearing, so the Magistrate Judge
13 found this factor weighs in favor of setting bond.
14              c.    Employment

15        Defendant sells clothing with his “Plead 5” logo at various booths

16 along with this wife, so the Magistrate Judge found this factor weighs
17 in favor of setting bond.
18              d.    Length of Residence

19        Defendant has lived in the San Diego almost his entire life, so

20 the Magistrate Judge found this factor weighs in favor of setting bond.
21              e.    Community Ties

22        Defendant has community ties.          While the Magistrate Judge focused

23 on his positive community ties vis-à-vis his family, this Court should
24 consider the ways in which some of his community ties are highly anti-
25 social and pose a danger to the community and others. In particular,
26
27
     NOTICE OF APPEAL AND MOTION TO STAY     6                          22-CR-1241-JAH
28   DETENTION ORDER PENDING APPEAL
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 1 Defendant is a documented and self-admitted made member of the Aryan
 2 Brotherhood.
 3        The Aryan Brotherhood is an extremely violent white supremacist

 4 gang that was formed in the California prison system in the 1960s and
 5 has expanded throughout the United States. The Defendant had to pay in
 6 blood to become a member because the Aryan Brotherhood has a blood
 7 in/blood out policy, which means that he was expected to murder someone
 8 someone to gain membership. And he is not permitted to leave or
 9 disassociate from the Aryan Brotherhood until he dies.
10        Defendant’s     membership       has     been   documented      in   the   California

11 Department of Corrections (CDR) databases. Defendant has a shamrock
12 tattoo, which is only reserved for validated members. And the fact that
13 he is an Aryan Brotherhood member was even corroborated by one the
14 defense witnesses he planned to call at his state attempted murder
15 trial. Even defense counsel admitted at the detention hearing that
16 Defendant is an Aryan Brotherhood member when he characterized the
17 offense conduct as an “argument between two Aryan Brotherhood members.”
18 Gov’t Exh. 1 at 32:13-14.
19        Defendant, therefore, is an active member of a violent gang.

20              f.    Drug Abuse

21        Defendant was convicted of a drug misdemeanor eight years ago for

22 which he completed diversion, so the Magistrate Judge found this factor
23 weighs in favor of setting bond.
24              g.    Criminal History

25        The    Magistrate    Judge       found       that   Defendant    had   “significant

26 criminal history, but most of it is over 20 years old, other than one
27
     NOTICE OF APPEAL AND MOTION TO STAY           7                             22-CR-1241-JAH
28   DETENTION ORDER PENDING APPEAL
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 1 misdemeanor eight years ago,” so he deemed Defendant’s criminal history
 2 to be neutral. The United States would ask this Court to re-evaluate
 3 the totality of Defendant’s criminal history, but consider not only his
 4 violent convictions but also the violent criminal conduct he directed
 5 within the last three years, which the government uncovered during its
 6 wiretap interceptions.
 7        As   for   his    convictions,   Defendant   has   a   long   and   aggravated

 8 criminal history, which began at the early age of 15, starting with
 9 burglary, grand theft, and taking of a vehicle. That type of behavior
10 persisted. When he was 18, he was convicted of possession of a stolen
11 access device in connection with a robbery of a postal vehicle. In
12 1990, he was also convicted again of taking a vehicle without consent
13 or receiving stolen property. Also in 1990, Defendant had a weapons
14 trafficking       or    explosives   conviction.    Significantly,    in   1992,   he

15 sustained an assault by a prisoner conviction. In 1996, he was charged
16 with assault with a deadly weapon, but that count was ultimately
17 dismissed in favor of a conviction on a lesser count involving a stolen
18 vehicle. His most recent convictions appear to have occurred in 1999.
19 After being sentenced to 7 years as a repeat auto theft offender, he
20 committed battery while in prison sometime between 1999 and 2003, which
21 led to another 8 years (consecutive) being added to his term. And in
22 that case, the victim was a deputy chief warden at the prison. Although
23 the Magistrate Judge was right to note that his convictions were twenty
24 years old, it is worth nothing that his rap sheets indicate has only
25 been out of custody since the 2012-2013 timeframe.
26
27
     NOTICE OF APPEAL AND MOTION TO STAY      8                           22-CR-1241-JAH
28   DETENTION ORDER PENDING APPEAL
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 1        The United States is aware that sometime between his release from

 2 prison       in    the    2012-2013     timeframe     and    December    2020,     Defendant

 3 successfully battled cancer and went into remission. For purposes of
 4 detention, what is relevant about these health milestones is that it
 5 does not appear as though he reformed or aged out of violence; rather,
 6 his recovery from cancer (and the various related medical conditions
 7 and surgeries) appears to coincide with him resuming active engagement
 8 in violence. By December 2020, Defendant’s physical strength was
 9 restored to the point of being able to physically stab Person 1 in the
10 chest with a knife, nearly killing him.
11        But    putting         aside   his   ability   to    physically   commit     violence

12 despite any purported medical conditions, it is equally if not more
13 troubling to the government that the Defendant uses his status as the
14 only member of the Aryan Brotherhood that is not behind bars in the San
15 Diego area to direct and cause violence to be exacted against other
16 people.      In    particular,        the   United    States   highlighted       during    the

17 detention         hearing      two    events   captured     during   its   2019      wiretap

18 interceptions            of    Defendant’s     associates      and   co-defendant         that

19 demonstrate his history and power to order local white supremacist
20 criminal street gangs and outlaw motorcycle gangs to commit violent
21 acts at his behest.
22        The most notable incident captured on the government’s wiretaps

23 and physical surveillance began on May 19, 2019. Investigators learned
24 the Defendant was operating his clothing booth in San Marcos at the
25 Harley-Davidson here in the district. This gathering included members
26 of several outlaw motorcycle gangs, as confirmed by surveillance by
27
     NOTICE OF APPEAL AND MOTION TO STAY           9                            22-CR-1241-JAH
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 1 several law enforcement officers. And during this event, a prospect and
 2 some members of the East County chapter of the Peckerwoods Outlaw
 3 Motorcycle gang got into a physical altercation with the Defendant and
 4 his associate. During this fight, someone hit the Defendant in the
 5 face, which broke a cardinal rule in the Aryan Brotherhood world
 6 because Defendant is a made member and cannot be touched out without
 7 approval from its governing body. Wiretap interceptions of local white
 8 supremacist gang leaders and physical surveillance of the area revealed
 9 a    surge     of     known    gang   leaders        and   members   from    various      white

10 supremacist criminal street gangs and outlaw motorcycle gangs rushed to
11 the scene, some armed with guns and knives, to back up Defendant and
12 retaliate against the Peckerwoods on his behalf. By the time they
13 arrived, however, law enforcement had flooded the scene to prevent
14 further violence.
15        Based    on     toll    records   from    Defendant’s       phone,   the   Government

16 determined that in the days following the altercation, Defendant had
17 several hundred contacts with a wide range of white supremacist street
18 gang and outlaw motorcycle gang leaders and members including the
19 Rekkers, Hell’s Angels, Forbidden Saints, Henchmen, Supreme Power
20 Skins,       Chosen     Few,    Aryan    Brotherhood,        and     the    leader   of    the

21 Peckerwoods. Four days after his fight with the Peckerwoods, an
22 anonymous Crimestoppers tip revealed that one of the Peckerwoods had
23 been assaulted and beaten with a baseball bat and his motorcycle stolen
24 to atone for laying hands on the Defendant. The Crimestoppers tip,
25 which was shared at the detention hearing and is attached to this
26 motion as Government Exhibit 2 at 1, revealed that four days after the
27
     NOTICE OF APPEAL AND MOTION TO STAY           10                             22-CR-1241-JAH
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 1 fight with Defendant, three members of the Peckerwoods were forced at
 2 gunpoint by their Peckerwoods leaders to give up their their Harley-
 3 Davidson motorcycles and their club patches and were then “beat with a
 4 bat so bad one guy is still in the hospital.” Id. The Crimestoppers tip
 5 went on to state, “They’re scared to say anything because they were
 6 told they would get killed. The Aryan Brotherhood in San Diego member,
 7 Michael Trippe, Kelly English, and Neil and president of the Rekkers
 8 Motorcycle Club, ordered them to take care of the three and take their
 9 bikes and to give the address of the three so they can take them out in
10 the near future if anybody talked. I am scared for my life and don’t
11 know what to do. I’m scared to talk to anybody. I don’t know what to do
12 or where to go next." Notably, Defendant’s phone tolls from the days
13 following his fight with the Peckerwoods are consistent with the claims
14 that Defendant orchestrated this assault as retaliation for being
15 struck during the fight on May 19, 2019.
16        The    Crimestoppers       tip   provided     specific    identifying     facts

17 including naming Michael Trippe as a suspect, listing him as an Aryan
18 Brotherhood      member,    and    listing    an   alias   of   his,   "Sean,"   which

19 investigators know is his middle name that he uses with his friends and
20 associates. One of the victims, Aaron Lang, refused to cooperate with
21 the investigation, but because of the very serious injuries that he
22 sustained during the beating with the baseball bat, the hospital was
23 required to report it to law enforcement. Investigators obtained a
24 search warrant for his phone which revealed information the government
25 shared at the detention hearing. Photos obtained from Lang’s phone
26 revealed injuries to his face, see Government Exhibit 2 at 3. Text
27
     NOTICE OF APPEAL AND MOTION TO STAY        11                         22-CR-1241-JAH
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 1 messages and photographs from Lang’s phone also revealed that he had
 2 been beaten so badly that his kidneys were injured during the assault
 3 to the point of him "pissing blood," as he put it. Id. at 4. In this
 4 case, the victims’ fear of reprisal and threats against their lives if
 5 they reported their attackers to law enforcement demonstrate why lack a
 6 of criminal conviction should not be dispositive in considering the
 7 extent of Defendant’s criminal history because they are still relevant
 8 conduct.
 9        In another 2019 incident captured on the government’s Title III

10 intercepts, Defendant used his standing as an Aryan Brotherhood member
11 to extort an individual over a debt. Laffing Devils outlaw motorcycle
12 gang prospect Jason Mitchell owed “Wild Bill” money and refused to pay
13 his     debt.   According     to   intercepted   communications    Mitchell    also

14 confronted “Wild Bill” and essentially challenged him to a fight over
15 the debt while “Wild Bill” was with his minor child about his refusal
16 to pay the debt. “Wild Bill” complained to a Nazi Low Rider known to
17 act as a secretary for Defendant. Defendant’s secretary made phone
18 calls and used his standing as Defendant’s secretary to get the Laffing
19 Devils to assault Mitchell to settle the unpaid debt, but “Wild Bill”
20 and Defendant’s secretary were not satisfied because the debt remained
21 unpaid. The Laffing Devils leader refused to then also extort Mitchell
22 for the money owed under the “hands laid, debt paid” principle. Wiretap
23 intercepts revealed that after reaching out to several people, the
24 Defendant’s secretary called the Defendant to use his standing as a
25 made Aryan Brotherhood member to persuade the Laffing Devils leader to
26 change his mind. After receiving a phone call from Defendant, the
27
     NOTICE OF APPEAL AND MOTION TO STAY     12                         22-CR-1241-JAH
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 1 Laffing Devils leader changed his mind and called the Nazi Low Rider to
 2 assure him they would extort Mitchell for the money owed. What is more,
 3 the Laffing Devils leader attempted to pacify the Defendant’s secretary
 4 by reassuring him that he meant no disrespect when he previously
 5 refused and told Defendant’s secretary that he simply didn’t realize
 6 who he was talking to until the Defendant called to enlighten him.
 7 During that call, Defendant’s secretary asked, "Now you know who I am?"
 8 The Laffing Devils leader said, "I know who you are. I know Thumper
 9 (Defendant’s known moniker) really well.” The Laffing Devils leader
10 assured Defendant’s secretary that Mitchell "got smashed and his shit
11 stripped. Let me reach out of there and see if I can get some money."
12 Days later, Defendant’s secretary bragged to “Wild Bill,” "Once Thumper
13 calls, he called me back with a different tone. He started stuttering.
14 He found out who everyone was."
15        Neither of the incidents from 2019 that were captured on the

16 government’s wiretap investigation resulted in convictions, but they
17 reveal that Defendant did not leave his violent ways behind and has
18 been using his standing as an Aryan Brotherhood member to direct others
19 to commit violence on his behalf, thereby insulating himself from
20 criminal prosecution.
21        4.    Record of Prior Appearances

22        The Magistrate Judge did not see any indication that Defendant

23 failed to make any of his court appearances during the pendency of his
24 state court attempted murder case, so the Magistrate Judge found this
25 factor weighs in favor of setting bond. However, in his state case, a
26 judge had forecasted early on that based on the preliminary hearing
27
     NOTICE OF APPEAL AND MOTION TO STAY    13                          22-CR-1241-JAH
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 1 testimony, she was inclined to give Defendant an extremely light
 2 sentence, so Defendant had a unique incentive to continue making his
 3 court appearances that is not present here, whereas the federal
 4 government intends to seek the statutory maximum of 20 years against
 5 Defendant in the context of his crime of violence being committed in
 6 aid of racketeering for the Aryan Brotherhood enterprise.
 7        5.       Danger to Any Persons or the Community.

 8        As set forth below, Defendant is a significant danger to the

 9 community and others.
10        Based on the totality of the factors discussed above, Defendant

11 is, therefore, a serious risk of flight.
12 B.     Danger to Another Person or Community

13        Defendant is also a danger to the community and others.                   The

14 United States must establish by clear and convincing evidence that
15 Defendant poses a danger to another person or to the community.                United

16 States v. Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991); see also 18
17 U.S.C. § 3142(g).         Here, the danger is clear and convincing based on

18 the following:
19             •   Defendant is an active member of violent white supremacist

20                 enterprise.

21        As discussed above, Defendant, by his own admission and that of

22 his counsel, is a made member of the Aryan Brotherhood, a violent white
23 supremacist prison gang that yields influence over a number of white
24 supremacist criminal street and outlaw motorcycle gang members on the
25 streets. He holds of the unique position of being the only made Aryan
26 Brotherhood member that is not behind bars in the San Diego area. As
27
     NOTICE OF APPEAL AND MOTION TO STAY    14                          22-CR-1241-JAH
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 1 the United States has shown, his stature has emboldened him to stab
 2 people despite his diminished health and confers the authority for him
 3 to direct white supremacist gang members that abide by the Aryan
 4 Brotherhood to commit and threaten violence on his behalf and threaten
 5 victims with death if they report to law enforcement.
 6           •   Defendant’s physical condition does not limit his ability to

 7               direct violence using electronic devices.

 8        Although the Defendant’s history of violence could alone justify a

 9 finding of danger, it is important that even if all the conditions the
10 Magistrate Judge ordered had been in place in 2019, they would not have
11 prevented the violence laid out above because the government has shown
12 the ways in which Defendant can and has used text messages and phone
13 calls to cause serious bodily injury to others at his behest.
14           •   Defendant’s gang-related stabbing was conducted in a family-

15               friendly public park with “people all over.”

16        Counsel for Defendant tried to paint the stabbing as simply a

17 dispute “between two Aryan Brotherhood members.” Gov’t. Ex. 1 at 32:13-
18 14. But such a characterization ignores the grave danger Defendant
19 placed the public when he stabbed Person 1 in a park frequented by
20 families in broad daylight that even counsel for Defendant admitted
21 “was in the middle of a neighborhood with people all over.” Id. at
22 32:22-23.       Carrying    out    gang-related    disputes    in    this      manner

23 demonstrates the way in which Defendant’s brazen acts endanger innocent
24 members of the public.
25        Defendant is, therefore, a danger to the community and others.

26 //
27
     NOTICE OF APPEAL AND MOTION TO STAY    15                          22-CR-1241-JAH
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 1                                             V

 2                                         CONCLUSION

 3        For the foregoing reasons, the United States respectfully requests

 4 that the Court enter an order detaining Defendant pending trial and
 5 also enter an order staying the Magistrate Judge’s Order setting
 6 conditions of release while the Court considers its motion.
 7
 8 DATE: August 16, 2022                       Respectfully submitted,

 9                                             RANDY S. GROSSMAN
                                               United States Attorney
10
11
                                               /s/ Connie Wu_______________
12                                             Connie Wu
                                               Assistant U.S. Attorney
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     NOTICE OF APPEAL AND MOTION TO STAY       16                        22-CR-1241-JAH
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